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UNITED STATES DISTRICT COURT                                 USDCSDNY
SOUTHERN DISTRICT OF NEW YORK
                                                             DCCUMENT
                                                             ELECTRONICALLY FILED
     Katherine Salisbury,                                    DOC#:

                            Plaintiff,
                                                             DATE FILED:         rrs· 2· s2011
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                                                                      15-cv-9799 (AJN)
                   -v-
                                                                   MEMORANDUM &
     Prudential Insurance Company of America,                         ORDER

                            Defendant.



ALISON J. NATHAN, District Judge:

          Plaintiff Katherine Salisbury brings this action under the Employee Retirement Income

Security Act ("ERISA") seeking long-term disability benefits under a plan administered by the

Prudential Insurance Company of America ("Prudential"). The parties dispute the standard of

review that applies in this case and the scope of permissible discovery. Before the Court is

Defendant Prudential's "motion to set the standard ofreview as arbitrary and capricious." Dkt

No. 33. For the reasons provided below, the Court concludes that de nova review shall apply.

Additionally, the Court denies Salisbury's request for plenary discovery.

I.       Background

         Salisbury was employed by Jefferies Group, Inc. Compl.   ~   6 (Dkt No. 4); Mot. at 1 (Dkt

No. 34). Jefferies Group, Inc. issued a "Group Benefit Plan" under ERISA. Ex. A. at 5 (Dkt No.

34-1 ). The Plan named Prudential as the claims administrator for disability benefits. Ex. A at 2;

Ex.Bat 5, 28 (Dkt No. 34-2).

         Salisbury brought a claim for long-term disability benefits under this plan. On March 23,

2015, Prudential denied Salisbury's claim for long-term disability benefits. Ex. C (Dkt No. 34-

3). On October 15, 2015, Salisbury filed an appeal of this decision with Prudential. Id.
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According to the relevant Department of Labor regulations, Prudential then had 45 days to

render a decision. 29 C.F.R. §§ 2560.503-l(i)(l), 2560.503-l(i)(3). Before the end of this 45

day period, Prudential provided written notice to Salisbury stating that Prudential was extending

the time to make an appellate determination. Ex. D (Dkt No. 34-4); Hack Deel. Ex. E (Dkt No.

36-5). The sole justification for the extension was that additional time was "required to allow for

review of the information in Ms. Salisbury's file which remains under physician and vocational

review." Ex. D; Hack Deel. Ex. E. On December 16, 2015, Salisbury filed the current lawsuit in

this Court challenging Prudential's denial of her long-term disability benefits claim. Dkt No. 1.

On January 13, 2016, Prudential issued its appellate decision affirming the denial of Salisbury's

claim. Ex. E (Dkt No. 34-5).

          During the litigation of this case, the parties expressed differing views regarding the

appropriate standard of review and the proper scope of discovery. The Court now resolves these

issues.

II.       Discussion

          Prudential's motion asks the Court to both (1) set the standard ofreview as "arbitrary and

capricious" and (2) reject Salisbury's request for extensive discovery. As explained below,

because Prudential violated a Labor Department regulation governing the processing of

employee claims under ERISA, the Court concludes that the standard of review is de nova.

Additionally, the Court concludes that Salisbury's request for plenary discovery is improper, but

notes that Salisbury may file a motion requesting specific pieces of discovery.

          A.     The Standard of Review in ERISA Denial of Benefits Cases

          The main question before the Court is what standard of review should apply to

Prudential's denial of Salisbury's claim for long-term disability benefits. "[A] denial of benefits



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challenged under [29 U.S.C.] § 1132(a)(l)(B) is to be reviewed under a de novo standard unless

the benefit plan gives the administrator or fiduciary discretionary authority to determine

eligibility for benefits or to construe the terms of the plan." Firestone Tire & Rubber Co. v.

Bruch, 489 U.S. 101, 115 (1989). If the plan expressly vests discretion in the administrator, then

the deferential "arbitrary and capricious" standard applies. Kinstler v. First Reliance Standard

L?fe Ins. Co., 181 F.3d 243, 249 (2d Cir. 1999). "The plan administrator bears the burden of

proving that the arbitrary and capricious standard ofreview applies." Id.

       Prudential contends that the arbitrary and capricious standard applies in this case because

the Plan under which Salisbury brings her claim expressly vests discretion in the plan

administrator. Mot. at 2. Salisbury responds with two reasons why de novo review should apply

instead. First, Salisbury argues that the plan does not contain language vesting discretion in the

plan administrator. Opp. at 4-10 (Dkt No. 35). Second, Salisbury argues that Prudential failed to

comply with the Department of Labor's regulation governing the processing of her claim. Opp.

at 1-3. For the reasons provided below, the Comi agrees with Salisbury on the second ground

and thus sets the standard of review as de novo.

       B.      The Plan Expressly Vests Discretion in the Plan Administrator

       The arbitrary and capricious standard ofreview, as opposed to the de novo standard,

applies when a "plan vests the administrator with 'discretionary authority to determine eligibility

for benefits or to construe the terms of the plan."' Frommert v. Conkright, 738 F.3d 522, 527

(2d Cir. 2013) (quoting Nichols v. Prudential Ins. Co. ofAm., 406 F.3d 98, 108 (2d Cir. 2005)).

Salisbury spends a significant amount of her brief arguing that de novo review applies because

the Summary Plan Description ("SPD"), and not the plan itself, is the only document containing

language vesting discretion in the plan administrator. Opp. at 4-1 O; see CIGNA Corp. v. Amara,



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563 U.S. 421, 438 (2011) (holding that the summary plan description is not part of the plan and

thus cannot create legal rights). Salisbury ignores, however, language within the plan itself that

vests discretion in the administrator. Specifically, the plan at issue in this case states that

"[b ]enefits under this Plan will be paid only if the Plan Administrator (or its designee) decides in

his discretion that the applicant is entitled to them." Ex. A. at 7. The Second Circuit has held

that this language vests the administrator with discretionary authority, thus triggering application

of the arbitrary and capricious standard. Roganti v. Metro. Life Ins. Co., 786 F.3d 201, 204-05 &

n.2 (2d Cir. 2015). The Court therefore rejects Salisbury's first argument as to why the standard

ofreview should be de nova.

        C.     De Novo Review Applies Because Prudential Did Not Strictly Comply with
               the Department of Labor's Claims-Procedure Regulation

        The conclusion that the plan at issue in this case expressly vests discretion in the plan

administrator does not end the Court's inquiry. Salisbury contends that, even if the plan

expressly vests discretion with the administrator, de nova review nonetheless applies because

Prudential's processing of her claim violated a Department of Labor regulation. Mot. at 1-4.

       "Under Sections 503 and 505 of the Employee Retirement Income Security Act of 1974

("ERISA"), 29 U.S.C. §§ 1133, 1135, Congress empowered the Department of Labor to issue

rules and regulations governing claims procedures for employee benefit plans." Halo v. Yale

Health Plan, 819 F.3d 42, 45 (2d Cir. 2016). Pursuant to this authorization, the Department of

Labor promulgated a claims-procedure regulation at 29 C.F.R. § 2560.503-1. For purposes of

this motion, the Court is concerned only with those aspects of this regulation that apply to the

processing of a claimant's appeal of the denial of benefits.

       Once an employee's claim has been denied, the employee-claimant must be given at least

180 days to appeal that decision to the plan administrator. 29 C.F.R. §§ 2560.503-l(b),


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2560.503-1 (h)(3)(i). An appeal to the plan administrator is required before a lawsuit can be

filed in federal court. See Greifenberger v. Hartford L(fe Ins. Co., 131 F. App'x 756, 758 (2d

Cir. 2005) (noting that "the exhaustion of administrative review procedures [is] a jurisdictional

prerequisite to any suit to recover ERISA benefits"). Once an appeal is filed, the plan

administrator has 45 days to render a decision. 29 C.F.R. § 2560.503-l(i)(3)(i) (when read in

conjunction with§ 2560.503-l(i)(l)(i)). The plan administrator may request a single 45 day

extension, but only if "the plan administrator determines that special circumstances (such as the

need to hold a hearing, if the plan's procedures provide for a hearing) require an extension of

time for processing the claim." 29 C.F.R. § 2560.503-l(i)(l)(i). Before taking an extension, the

plan administrator must provide written notice to the claimant "indicat[ing] the special

circumstances requiring an extension of time and the date by which the plan expects to render the

determination on review." Id.

       Salisbury appealed her adverse benefits determination on October 15, 2015. Ex. C.

Prudential then had 45 days (until November 29, 2015) to render an appellate decision. Hack

Deel. Ex. A; 29 C.F.R. §§ 2560.503-l(i)(l), 2560.503-l(i)(3). On November 24, 2015,

Prudential provided written notice to Salisbury stating that it was seeking an extension of time.

In the notice, the sole justification for the extension was that Prudential needed additional time

"to allow for review of the information in Ms. Salisbury's file which remains under physician

and vocational review." Ex. D; Hack Deel. Ex. E. Prudential represented that it would render a

decision by January 13, 2016. Id. Salisbury filed the instant federal court action on December

16, 2015, before Prudential rendered a decision, on the ground that Prudential's request for an

extension was improper. See Dkt No. 1, 4. Prudential ultimately did issue a decision denying

Salisbury's appeal, on January 13, 2016. Exs. D & E. Salisbury contends that Prudential



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violated the claims-procedure regulation by failing to provide sufficient "special circumstances"

to justify an extension of time to decide her appeal. Opp. at 2-3.

        In their briefs, both parties spend a significant amount of time discussing whether the

doctrine of "substantial compliance" applies in this case. Mot. at 7; Opp at. 3; Reply at 2-3 (Dkt

No. 37). According to Prudential, even if it technically violated the Department of Labor

regulation by seeking an extension without providing sufficient justification, de novo review

should not apply because the company at least "substantially complied" with the claims-

procedure regulation, as it "obtained the extension in good faith" and ultimately rendered a

decision within the maximum allowable time of 90 days. Reply at 2.

        Neither party cites Halo, the recent Second Circuit opinion resolving this issue. Halo v.

Yale Health Plan, 819 F.3d 42, 45 (2d Cir. 2016). In that case, a prose plaintiff challenged the

denial of her claims for health benefits under an ERISA plan. Id. at 46. She argued that de novo

review should apply because the Plan's denials of her claims were untimely and failed to contain

the explanatory information required by the claims-procedure regulation. Id. The district court

concluded that the Plan at least "substantially complied" with the claim-procedure regulation and

therefore declined to apply de novo review. Id. at 47. The Second Circuit reversed on the

ground that the district court applied the wrong legal standard. Id. at 61. The Court concluded

that "the substantial compliance doctrine ... is flatly inconsistent" with the Department of

Labor's claim-procedure regulation. Id. at 56. Accordingly, the Court held that a plan

administrator "must strictly adhere to the regulation to obtain the more deferential arbitrary and

capricious standard ofreview." Id. The Comi then remanded for the district court to apply this

legal standard of strict compliance. Id. at 61. In short, Halo held that if the plan administrator

does not strictly comply with the Department of Labor's regulation governing the processing of



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an employee's claim, then de novo review applies to the denial of benefits, regardless of whether

the plan vests discretion with the administrator.

         The question before the Court therefore becomes whether Prudential violated the claims-

procedure regulation when it requested an extension of time to decide Salisbury's appeal. This

issue in turn requires the Court to construe the term "special circumstances." A plan

administrator may seek an extension of time only if "the plan administrator determines that

special circumstances ... require an extension of time for processing the claim" and the

administrator provides a notice that describes these "special circumstances." 29 C.F.R. §

2560.503-1 (i)(l )(i). Unfortunately, neither party cites any cases providing insight into the

meaning of"special circumstances" under 29 C.F.R. § 2560.503-1, and the Court's independent

research revealed no applicable precedent. See Mot. at 5-7; Opp. at 1-4. 1 The only legal

authority the Court could find that sheds any light on the meaning of "special circumstances" is

the Department of Labor's preamble, which the Second Circuit has stated "is entitled to

substantial deference." Halo, 819 F.3d at 53.

         According to the Labor Department, "the time periods for decisionmaking are generally

maximum periods, not automatic entitlements." See ERIS A Rules and Regulations for

Administration and Enforcement; Claims Procedures, 65 Fed. Reg. 70,246, 70,250, 2000 WL

1723740 (Nov. 21, 2000). The Department explained that "it may be unreasonable" to seek an

extension if the "claim presents no difficulty whatsoever." Id. Additionally, the Department

explained that "an extension may be imposed only for reasons beyond the control of the plan."



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           Prudential cites Wedge v. Shawmut Design and Constr. Grp. Long Term Disability Ins. Plan, No. 12 Civ.
5645(KPF), 2013 WL 4860157 (S.D.N .Y. Sept. I 0, 2013), to support its argument that it did not violate the claims-
procedure regulation. Mot. at 5-6. In Wedge, the Court rejected the argument that "any transgression ... from
ERISA 's requirements resulted in wholesale forfeiture of a plan administrator's discretion." Id. at* I 0. This case
was decided before Halo, which held that a plan administrator must "strictly adhere" to the claims-procedure
regulation. 819 F.3d at 56.

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Id. The Department further suggested that simply having too much work does not constitute an

acceptable justification, writing that "delays caused by cyclical or seasonal fluctuations in claims

volume [are not] matters beyond the control of the plan that would justify an extension." Id.

The Department also concluded that a plan administrator's failure to provide a sufficient "special

circumstance" would constitute a violation of the claims-procedure regulation. Id. at 70,248 n.8

("[I]n in some cases, delaying a decision until the end of the applicable maximum period may be

unreasonable under the circumstances and thus a violation of the procedural standards.").

       These statements in the Labor Department's preamble suggest that Prudential violated the

claims-procedure regulation by seeking an extension without "special circumstances." The only

rationale for the extension provided in the company's written notice was that Prudential needed

additional time "to allow for review of the information in Ms. Salisbury's file which remains

under physician and vocational review." Ex. D; Hack Deel. Ex. E. But virtually every appeal of

the denial of a disability benefits claim will require "physician and vocational review," and thus

this cannot constitute a valid "special circumstance." Additionally, the written notice of

extension did not identify any unusual difficulties associated with Salisbury's claim. See 65 Fed.

Reg. at 70,250 (noting that it would be unreasonable to seek an extension if the claim

"present[ ed] no difficulty whatsoever"). To find that Prudential's justification for seeking an

extension in this case constituted a "special circumstance" would mean that virtually any request

for an extension would be permissible, an outcome the Department of Labor has expressly

rejected. See id. ("[T]he time periods for decisionmaking are generally maximum periods, not

automatic entitlements.").

       In its reply, Prudential represents that Salisbury's file was "voluminous," containing

"4,623 pages of medical records and several days of surveillance." Reply at 1-2. The Court,



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however, cannot consider this information when assessing the adequacy of Prudential's request

for an extension, as this information was not included in the written notice provided to Salisbury.

Ex. D; Hack Deel. Ex. E; see 29 C.F.R. § 2560.503-1 (i)(l )(i) (requiring a written notice of

extension to "indicate the special circumstances" warranting an extension). Additionally, the

Court is skeptical that the Labor Department would find this a sufficient reason for an extension.

See 65 Fed.Reg. at 70,250 (noting that "fluctuations in claims volume" cannot justify a request

for an extension).

        Having concluded that a violation of the claims-procedure regulation occurred, the Court

must next to turn to the question of whether an exception applies. Halo laid out a limited

exception to the general rule that de novo review applies when a plan administrator has failed to

comply with the claims-procedure regulation. Specifically, the Court in Halo held that a plan

administrator could avoid the application of de novo review if "the plan has otherwise

established procedures in full conformity with the regulation and can show that its failure to

comply with the claims-procedure regulation in the processing of a particular claim was

inadvertent and harmless." 819 F.3d at 58. The Second Circuit provided examples of what types

of violations could be considered inadvertent and harmless, such as when "human error caus[ es] .

. . a plan to respond in 73 hours when the regulation requires that it do so in 72, or in 16 days

when the regulation specifies 15." Id. at 57 (internal citations omitted). The Court warned that,

in order "[t]o prevent the exception from swallowing the rule," violations of the claims-

procedure regulation "should not be tolerated lightly." Id. at 57.

       The Court concludes that this exception does not apply. In Halo, the Court wrote that the

Plan bears the burden of proving that the "inadvertent and harmless" exception applies. Id. at 58.

Because Prudential does not cite Halo in either its original motion or reply brief and instead



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argues that the doctrine of substantial compliance applies (in direct contradiction to Halo's

holding), Prudential does not make any arguments as to why this exception should apply and

therefore has not met this burden. See Mot. at 5-7; Reply at 1-3. 2 Even ifthe Comi were to

examine the exception on its merits, it would conclude that it does not apply. While the violation

of 29 C.F.R. § 2560.503-1 discussed herein may have been harmless given that Prudential

ultimately rendered a decision on Salisbury's appeal within the maximum allowable 90-days, the

Court cannot say that Prudential's violation was "inadvertent." Prudential purposefully sought

the extension and provided the inadequate grounds for seeking an extension.

          The Comi recognizes that this conclusion, that Prudential's improper request for an

appellate extension triggers application of de nova review, may appear harsh, especially given

that Prudential ultimately issued a determination on Salisbury's claim within 90 days. However,

Halo requires "strict" compliance with the claims-procedure regulation. 819 F.3d at 56. And the

Department of Labor has expressly recognized that some requests for an extension will violate

the claims-procedure regulation. 65 Fed. Reg. at 70,248 n.8 ("[I]n in some cases, delaying a

decision until the end of the applicable maximum period may be unreasonable under the

circumstances and thus a violation of the procedural standards."). Prudential's request for an

extension in this case identified no special circumstances. The Court is therefore bound to

conclude that Prudential violated claims-procedure regulation and that this triggers de nova

review.

          D.      Salisbury's Request for Plenary Discovery Is Denied

          At the Court's April 15, 2016 Initial Pretrial Conference, the parties represented that they

disputed the scope of allowable discovery. In its motion to set the standard ofreview, Prudential


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          The Court notes that Halo was published months before Prudential filed its motion to set the standard of
review as arbitrary and capricious. Dkt Nos. 33, 37.

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briefly mentions discovery, arguing that the Court should reject Salisbury's request for

"extensive merits discovery." Mot. at 4-5. The Court agrees with Prudential's view of the

permissible scope of discovery.

        Even when the de nova standard of review applies, discovery in cases appealing the

denial of benefits under an ERISA plan is generally limited to the administrative record. See

Halo, 819 F.3d at 60 ("[W]hen reviewing claim denials, whether under the arbitrary and

capricious or de nova standards of review, district courts typically limit their review to the

administrative record before the plan at the time it denied the claim."); Locher v. Unum L(fe Ins.

Co. ofAm., 389 F.3d 288, 293-94 (2d Cir. 2004); DeFelice v. Am. Intern 'l. Life Assurance Co. of

NY, 112 F. 3d 61, 66-67 (2d. Cir. 1997); see also Tretola v. First Unum Life Ins. Co., No. 13

Civ. 231 (PAE), 2014 WL 2815586, at *2 (S.D.N.Y. June 23, 2014). A few exceptions to this

general rule exist. For example, "a district court may consider evidence outside the

administrative record upon a de nova review of issues of plan interpretation." Locher, 389 F.3d

at 293 (citing Masella v. Blue Cross & Blue Shield of Conn., Inc., 936 F.2d 98, 103-05 (2d Cir.

1991)). A court may also "consider evidence outside the administrative record upon a de novo

review offactual issues" if there is "good cause" for doing so. Id. at 293-94, 299; see also Halo,

819 F.3d at 60. When seeking discovery beyond the administrative record, the plaintiff should

specifically identify the type of discovery she seeks. See, e.g., Liyan He v. Cigna Life Ins. Co. of

New York, 304 F.R.D. 186, 187 (S.D.N. Y. 2015) (plaintiff sought three depositions on

specifically identified topics); Burgio v. Prudential Life Ins. Co. ofAm., 253 F.R.D. 219, 222

(E.D.N.Y. 2008) (plaintiff sought, among other things, to depose "one of the people on the

Committee responsible for the final claim decision" and subpoenas for identified doctors).




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         These authorities make it clear that Salisbury's request for plenary discovery must be

rejected. However, because Salisbury's brief focuses on the standard ofreview issue rather than

discovery, she does not make any arguments as to whether an exception to the rule limiting

discovery applies or whether there is "good cause" for particular types of discovery to be

exchanged. Accordingly, while the Court denies Salisbury's request for plenary discovery, it

will allow Salisbury to seek limited discovery if "good cause" exists. The parties are encouraged

to work through any disputes as to scope. In the absence of agreement, furthe~ assistance of the

Court may be sought.

III.     Conclusion

         The Comi concludes that the Plan at issue expressly vests discretion in the plan

administrator to decide disability claims. Nonetheless, the Court concludes that the de novo

standard applies to the review of the denial of Salisbury's claim because Prudential violated the

Department of Labor's claims-procedure regulation by seeking an extension of time without

identifying adequate "special circumstances." Finally, because discovery is generally limited to

the administrative record even when the standard ofreview is de novo, the Court denies

Salisbury's request for plenary discovery.

         By March 17, 2017 the parties shall submit a joint proposed schedule for the completion

of discovery and for summary judgment motions.

       This order resolves Docket Number 33.


         SO ORDERED.
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Dated:   tt~ i l , 2017
         New York, New York

                                                      \._,,/ 1\usoN J. NATHAN
                                                            United States District Judge


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